          Case 2:16-cr-00080-RMP          ECF No. 135        filed 01/26/17        PageID.387 Page 1 of 1
O PS 8
(3/15)


                             UNITED STATES DISTRICT COURT
                                                           for
                                          Eastern District of Washington


U.S.A. vs.                      Myrick, Tracy                         Docket No.               2:16CR00080-RMP-1

                                Petition for Action on Conditions of Pretrial Release

        COMES NOW Erik B. Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the
conduct of defendant Tracy Myrick, who was placed under pretrial release supervision by the Honorable U.S. Magistrate
Judge Mary K. Dimke sitting in the court at Spokane, Washington, on the 14th day of April, 2016, under the following
conditions:

Special Condition #12: Defendant shall refrain from any use of alcohol.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


Violation #6: The defendant tested positive for the presence of alcohol on January 17, 2017.

 PRAYING THAT THE COURT WILL INCORPORATE THE ABOVE VIOLATION WITH VIOLATION(S)
                      PREVIOUSLY REPORTED TO THE COURT
                                                                          I declare under the penalty of perjury
                                                                          that the foregoing is true and correct.
                                                                          Executed on:       January 26, 2017
                                                                 by       s/Erik Carlson
                                                                          Erik Carlson
                                                                          U.S. Pretrial Services Officer

THE COURT ORDERS

[ ]      No Action
[ ]      The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ X]     The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[ ]      Defendant to appear before the Judge assigned to the case.
[ ]      Defendant to appear before the Magistrate Judge.
[ ]      Other


                                                                            Signature of Judicial Officer
                                                                                   January 26, 2017
                                                                            Date
